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                                                              Wednesday, 18 December, 2019 11:07:49 AM
                                                                            Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

JACQUELINE FARRIS,                          )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )                       Case No. 17 C 3279
                                            )
ERIK KOHLRUS; CHRISTINE BRANNON; CLARA      )
CHARRON; NORINE ASHLEY; LISA JOHNSON;       )
PATRICK KEANE; MIKE FUNK; FELIPE ZAVALA;    )                       Hon. Sue E. Myerscough
ALAN PASLEY; ALEX ADAMS; LAURA JACKSON; )
JEFF GABOR; TRINA SNYDER; ANGELA LOCKE;     )
and the ILLINOIS DEPARTMENT OF CORRECTIONS, )
                                            )
       Defendants.                          )                       JURY TRIAL DEMANDED

                    >352326('@SECOND AMENDED COMPLAINT

       Now comes Plaintiff, JACQUELINE FARRIS, by and through her attorneys, LOEVY &

LOEVY, and complaining of Defendants ERIK KOHLRUS, CHRISTINE BRANNON, CLARA

CHARRON, NORINE ASHLEY, LISA JOHNSON, PATRICK KEANE, MIKE FUNK,

FELIPE ZAVALA, ALAN PASLEY, ALEX ADAMS, LAURA JACKSON, JEFF GABOR,

TRINA SNYDER, ANGELA LOCKE, and ILLINOIS DEPARTMENT OF CORRECTIONS, as

follows:

                                          Introduction

       1.      On December 28, 2015, Plaintiff was raped by a correctional officer at Logan

Correctional Center. Her rape occurred under the noses of several correctional staff who saw the

sexual assault and did nothing. In fact, there is a widespread practice at Logan Correctional

Center of failing to intervene to prevent sexual assaults and sexual harassment against prisoners

at Logan, a practice which emboldened Plaintiff’s rapist.
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        2.      Plaintiff reported to medical staff at the prison that she had been raped. But rather

than take Plaintiff’s complaint seriously, the investigators to whom the complaint was referred

threatened Plaintiff and retaliated against her.

        3.      Accordingly, Plaintiff brings this action pursuant to 42 U.S.C. § 1983 to redress

the deprivation under color of law of Plaintiff’s rights as secured by the United States

Constitution.

                                      Jurisdiction and Venue

        4.      This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and 1367.

        5.      Venue is proper under 28 U.S.C. § 1391(b). On information and belief Defendants

reside in this judicial district, and the events giving rise to the claims asserted herein all occurred

within this district.

                                               Parties

        6.      In December of 2015, and at all times relevant to the events at issue in this case,

Plaintiff Jacqueline FARRIS, was in the custody of the Illinois Department of Corrections

(IDOC). She was incarcerated at Logan Correctional Center in December 2015, and then

transferred to Decatur Correctional Center in January 2016.

        7.      At all times relevant to her involvement in this case, Defendant CHRISTINE

BRANNON was employed by the IDOC in the capacity of Warden of Logan Correctional

Center. As such, Defendant BRANNON was acting under color of law. Defendant BRANNON

is being sued in her individual capacity for the challenged conduct.

        8.      At all times relevant to her involvement in this case, Defendant BRANNON was

responsible for the organization and supervision of Logan Correctional Center. In that capacity,

and at all times relevant to her involvement in this case, Defendant BRANNON promulgated




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rules, regulations, polices, and procedures as Warden of Logan Correctional Center to guarantee

the reasonable safety of inmates at the facility. Defendant BRANNON’S rules, regulations,

policies and procedures were implemented by and through the Correctional Officers and Internal

Affairs Investigators at Logan Correctional Center. As Warden, Defendant BRANNON was

responsible for, among other things, ensuring the reasonable safety of inmates, including

preventing staff on inmate violence, such as sexual assaults by guards and the adherence of each

facility to the Prison Rape Elimination Act (“PREA”).

       9.      Additionally, at all times relevant to the events at issue in this case, Defendant

BRANNON was responsible for the hiring, supervision, training, and retention of Correctional

Officers employed by the Illinois Department of Corrections and assigned to Logan Correctional

Center, including Defendants Logan Correctional Officers KOHLRUS, ADAMS, and

JACKSON.

       10.     At all times relevant to her involvement in this case, Defendant CLARA

CHARRON was employed by the IDOC in the capacity as the PREA Compliance Manager at

Logan Correctional Center. As such, Defendant CHARRON was acting under color of law.

Defendant CHARRON is being sued in her individual capacity for the challenged conduct.

       11.     At all times relevant to her involvement in this case, and in the capacity of PREA

Compliance Manager, Defendant CHARRON was responsible for, among other things, ensuring

the reasonable safety of inmates, including preventing sexual assaults by guards and adherence

by the facility to the PREA. Defendant CHARRON promulgated rules, regulations, polices, and

procedures in regards to PREA which were implemented by the Warden of Logan Correctional

Center, as well as other PREA Compliance Managers, Correctional Officers at Logan

Correctional Center, and Internal Affairs Investigators at Logan Correctional Center.




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       12.     At all times relevant to her involvement in this case, Defendant NORINE

ASHLEY was employed by the IDOC in the capacity as a Psychologist, Mental Health

Administrator: PREA Compliance Manager. As such, Defendant ASHLEY was acting under

color of law. Defendant ASHLEY is being sued in her individual capacity for the challenged

conduct.

       13.     At all times relevant to her involvement in this case, and in the capacity of a

Psychologist, Mental Health Administrator: PREA Compliance Manager, Defendant ASHLEY

was responsible for, among other things, ensuring the reasonable safety of inmates, including

preventing sexual assaults by guards and adherence by the facility to the PREA. Defendant

ASHLEY promulgated rules, regulations, polices, and procedures in regards to PREA which

were implemented by the Warden of Logan Correctional Center, as well as other PREA

Compliance Managers, Correctional Officers at Logan Correctional Center, and Internal Affairs

Investigators at Logan Correctional Center.

       14.     At all times relevant to her involvement in this case, Defendant LISA JOHNSON

was employed by the IDOC in the capacity as a Back-up to the PREA Compliance Manager. As

such, Defendant JOHNSON was acting under color of law. Defendant JOHNSON is being sued

in her individual capacity for the challenged conduct.

       15.     At all times relevant to her involvement in this case, and in the capacity of Back-

up to the PREA Compliance Manager, Defendant JOHNSON was responsible for, among other

things, ensuring the reasonable safety of inmates, including preventing sexual assaults by guards

and adherence by the facility to the PREA. Defendant JOHNSON promulgated rules,

regulations, polices, and procedures in regards to PREA which were implemented by the Warden

of Logan Correctional Center, as well as other PREA Compliance Managers, Correctional




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Officers at Logan Correctional Center, and Internal Affairs Investigators at Logan Correctional

Center.

          16.   At all times relevant to their involvement in this case, PATRICK KEANE and

MIKE FUNK, as Agency PREA Coordinators, were responsible for, among other things,

developing, implementing, and overseeing Illinois Department of Corrections efforts to comply

with PREA standards in all of its facilities, including Logan Correctional Center.

          17.   At all times relevant to their involvement in this case, and in the capacity of

Agency PREA Coordinators, Defendants KEANE and FUNK promulgated rules, regulations,

polices, and procedures in regards to PREA which were implemented by the facilities in IDOC,

including the Warden of Logan Correctional Center, as well as other PREA Compliance

Managers, Correctional Officers at Logan Correctional Center, and Internal Affairs Investigators

at Logan Correctional Center.

          18.   At all times relevant to their involvement in this case, FELIPE ZAVALA and

ALAN PASLEY, as Back-Up Agency PREA Coordinators, were responsible for, among other

things, providing assistance to the Agency PREA Coordinators in developing, implementing, and

overseeing Illinois Department of Corrections efforts to comply with PREA standards in all of its

facilities, including Logan Correctional Center.

          19.   At all times relevant to their involvement in this case, and in the capacity of Back-

Up Agency PREA Coordinators, Defendants ZAVALA and PASLEY promulgated rules,

regulations, polices, and procedures in regards to PREA which were implemented by the

facilities in IDOC, including the Warden of Logan Correctional Center, as well as other PREA

Compliance Managers, Correctional Officers at Logan Correctional Center, and Internal Affairs

Investigators at Logan Correctional Center.




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       20.     Defendants ZAVALA and PASLEY were also responsible, during their tenure

with the IDOC, for providing training to IDOC employees, including but not limited to

Defendants.

       21.     On or about December 28, 2015, and at all times relevant to his involvement in

this case, Defendant Logan Correctional Center Case Investigator JEFF GABOR was employed

by the IDOC and worked at Logan Correctional Center. As such, this Defendant was acting

under color of law and within the scope of his employment with IDOC and is sued in his

individual capacity. Defendant Logan Correctional Center Case Investigator JEFF GABOR was

responsible for, among other things, ensuring the equitable enforcement of rules and regulations

promulgated by the Warden during Internal Affairs investigations, including the rules and

regulations aimed at investigating sexual assaults by guards and adherence by Logan

Correctional Center to the PREA.

       22.     On or about December 28, 2015, and at all times relevant to their involvement in

this case, Defendants Logan Correctional Officers KOHLRUS, ADAMS, and JACKSON were

employed by the IDOC and worked at Logan Correctional Center. As such, these Defendants

were acting under color of law and within the scope of their employment with IDOC and are

sued in their individual capacities.

       23.     Defendants Logan Correctional Officers KOHLRUS, ADAMS, and JACKSON

were responsible for, among other things, ensuring the control and safety of all inmates housed at

Logan Correctional Center, including Plaintiff.

       24.     At all times relevant to her involvement in the case, Defendant LOCKE was

employed by the IDOC. For a period of time relevant to Plaintiff’s claims herein, Defendant

LOCKE was employed as Acting Warden at Logan Correctional Center. As such, Defendant




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LOCKE was acting under color of law. Defendant LOCKE is being sued in her individual

capacity for the challenged conduct.

       25.     In her role as Acting Warden at Logan Correctional Center, Defendant LOCKE

was responsible for the organization and supervision of Logan Correctional Center. In that

capacity, and at the relevant time that Logan Correctional Center switched to an all-female

prisoner population, Defendant LOCKE promulgated rules, regulations, polices, and procedures

as Warden of Logan Correctional Center to guarantee the reasonable safety of inmates at the

facility. Defendant LOCKE’S rules, regulations, policies and procedures were implemented by

and through the Correctional Officers and Internal Affairs Investigators at Logan Correctional

Center. As Acting Warden, Defendant LOCKE was responsible for, among other things,

ensuring the reasonable safety of inmates, including preventing staff on inmate violence, such as

sexual assaults by guards and the adherence of each facility to the Prison Rape Elimination Act

(“PREA”)

       26.     On or about May of 2016, Defendant SNYDER, as well as Defendant LOCKE,

were employed by the IDOC and worked at Decatur Correctional Center. As such, these

Defendants were acting under color of law and within the scope of their employment with IDOC

and are sued in their individual capacities. During this time, Defendants SNYDER and LOCKE

were responsible for, among other things, discipline of inmates and internal affairs investigations

at Decatur Correctional Center, including the discipline and investigation of disciplinary

infractions alleged against Plaintiff.

       27.     Defendant ILLINOIS DEPARTMENT OF CORRECTIONS (IDOC) is the

Illinois state agency responsible for the operation of various correctional facilities throughout the




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State of Illinois, including Logan Correctional Center and Fox Valley Adult Transition Center.

Defendant IDOC is a governmental subdivision of the State of Illinois.

                                         Factual Allegations

        28.     Plaintiff entered Logan Correctional Center on December 4, 2015. She had been

sentenced to 180 days in the Boot Camp facility (equating to 120 days with good time credits,

less time already served). Her sentence included a provision that if she did not complete Boot

Camp, she would face a six year incarceration. Plaintiff was intent on completing her sentence at

Boot Camp in 120 days, without any delay, and returning home to her two young boys.

        29.     Once at Logan Correctional Center, and as part of being placed in “Boot Camp

Status,” Plaintiff was permitted to change out of the standard prison garb and wear sweatpants

and a sweatshirt labeled “Boot Camp.” She, along with other women being sent to Boot Camp,

were housed in a unit separate from the general population and were expected to perform all

tasks around the prison, such as serve food trays, clean the laundry, clean the units, and generally

help out around the prison while waiting for availability at the Boot Camp to open. Because of

their status, the inmates, including Plaintiff, were permitted to leave their cell doors unlocked at

all times and come and go throughout the facility as needed, and at the direction of the

correctional officers, to complete their tasks.

        30.     In and around December of 2015, Defendant KOHLRUS was employed as a

Correctional Officer and was assigned to the third shift in Plaintiff’s unit. Defendant KOHLRUS

initiated contact with Plaintiff. While conducting cell checks, Defendant KOHLRUS would bang

his flashlight against Plaintiff’s cell door, and instruct Plaintiff to meet him at the cell door to

talk. On at least one occasion, Defendant KOHLRUS instructed Plaintiff to undress so that he

could watch.




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       31.     On one occasion, Defendant KOHLRUS explained to Plaintiff that because he

was being reassigned to a different area of the prison where they would not see each other, he

had a plan to meet her in the laundry room during his shift.

       32.     Defendant KOHLRUS’s plan to meet Plaintiff in the laundry room during his

shift necessitated the knowledge and agreement of Defendant Logan Correctional Officer

ADAMS, who was aware of both FARRIS’s and KOHLRUS’s whereabouts in the prison during

his shift and permitted KOHLRUS’s plan with Plaintiff to unfold without interruption.

       33.     Following Defendant KOHLRUS’s directions, Plaintiff met with him in the

laundry room on December 28, 2015. When Defendant KOHLRUS made sexual advances

towards her, Plaintiff became scared and nervous. She ran back to her cell.

       34.     Defendant KOHLRUS followed Plaintiff back to her cell. He told her, “I have a

plan” and “I want you to come back down,” or words to that effect. Plaintiff complied.

       35.     While back in the laundry room, Plaintiff could see Defendant ADAMS working

in the “bubble” or control room. At no point did Defendant ADAMS intervene and/or stop

Defendant KOHLRUS’s actions.

       36.     Defendant KOHLRUS engaged Plaintiff in non-consensual sexual acts.

Afterwards he said words to the effect of “good girl” and reminded Plaintiff that she would not

go to boot camp if she told anyone.

       37.     Surveillance cameras in Logan Correctional Center captured KOHLRUS and

Plaintiff during the early morning hours of December 28, 2015, in the hallways and common

areas of B wing in Housing Unit 15, including the walk to and from the laundry room where

Defendant KOHLRUS raped Plaintiff.




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       38.     Defendants BRANNON, CHARRON, JOHNSON, ASHLEY, KEANE, FUNK,

ZAVALA, PASLEY, and GABOR failed to preserve this video and/or photographic evidence

despite their obligation to do so.

       39.     Plaintiff was unprepared for what had occurred in the laundry room. A few hours

after her rape, she confided in the nurse at Logan Correctional Center, and then later the Medical

Director. Plaintiff consented to a rape kit.

       40.     Plaintiff was then instructed to speak with Logan Correctional Center Case

Investigator JEFF GABOR, who yelled and threatened her that she was going to get hit with

extra charges if the rape kit did not come back positive. Scared, Plaintiff told Defendant

GABOR that she had consented to Defendant KOHLRUS’ actions.

       41.     Based on her reporting, Plaintiff was then placed on restricted housing. At no

point during her time in isolation was she afforded the opportunity to challenge her confinement.

       42.     The restricted housing Plaintiff was forced to suffer was intense. Plaintiff—

although not suicidal—was confined to a cell alongside women who were placed on suicide

watch. The women had obvious mental health problems and, with cells that you could see

straight into, Plaintiff had no privacy from their experiences.

       43.     Plaintiff did not forget that she was sentenced to Boot Camp, and remained

focused on getting home to her children. She was persistent in asking when she would be let out

of segregation, but received no information, and no paperwork, in regards to her continued

detention or the Internal Affairs Investigation into the rape.

       44.     Plaintiff was offered anti-anxiety medication while in segregation. At first she

refused, but the stress of the unit and the lack of information regarding her situation bore down

on her. Eventually she capitulated and took the anti-anxiety medication.




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        45.      Once Plaintiff accepted the anti-anxiety medication, she was then informed by

Defendants that she was no longer eligible for Boot Camp due to her mental health status.

        46.      Plaintiff was forced by Defendants to sign a statement that she would not discuss

the Internal Affairs Investigation relating to Defendant KOHLRUS’s actions—despite not being

provided with any information on the investigation, including whether the investigation

concluded and what the findings were.

        47.      Plaintiff was sent to Decatur Correctional Center on January 21, 2016. Plaintiff

was disciplined at Decatur Correctional Center by Defendants SNYDER and LOCKE after

allegedly discussing the incident.

                                            Count I
                    42 U.S.C. § 1983 – Excessive Force (Eighth Amendment)
                                 Against Defendant KOHLRUS

        48.      Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        49.      As described more fully above, Defendant KOHLRUS used force against

Plaintiff. That force, in the form of a rape, was objectively unreasonable and meant to degrade

and humiliate Plaintiff.

        50.      In using force against Plaintiff, Defendant KOHLRUS used extreme or excessive

cruelty toward her for the purpose of causing harm, including degradation and humiliation. The

actions by Defendant KOHLRUS were not in a good faith effort to maintain or restore security

or discipline.

        51.      Alternatively, Defendant KOHLRUS knew that using force presented a risk of

harm to Plaintiff, but recklessly disregarded that risk and Plaintiff’s emotional and physical

safety by failing to take reasonable measures to minimize the risk of harm.




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        52.    As a direct and proximate result of Defendant’s misconduct, Plaintiff’s rights

were violated and she experienced injuries, including emotional distress.

                                           Count II
                   42 U.S.C. § 1983 – Due Process (Fourteenth Amendment)
                                Against Defendant KOHLRUS

        53.    Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        54.    As described more fully above, Defendant KOHLRUS committed a serious

battery, including rape, against Plaintiff under color of state law. In so doing, Defendant

KOHLRUS denied Plaintiff due process of law in that he engaged in arbitrary government action

that deprived her of her liberty, violated her right to bodily integrity, and was so malfeasant as to

shock the conscience.

        55.    Defendant KOHLRUS’ misconduct was undertaken with malice, willfulness,

and/or reckless indifference to Plaintiff’s rights and was objectively unreasonable.

        56.    Defendant KOHLRUS’ actions as described more fully above were committed

within the scope of his employment and under color of law.

                                         Count III
                         42 U.S.C. § 1983 – Deliberate Indifference
    Against Defendants BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE,
                             FUNK, ZAVALA, and PASLEY

        57.    Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        58.    Defendant KOHLRUS’ rape of Plaintiff was not an isolated incident at Logan

Correctional Center and Defendants BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON,

KEANE, FUNK, ZAVALA, and PASLEY were each on notice of the custom, policies, and

practices at Logan Correctional Center that permitted this type of misconduct to flourish.

        59.    Specifically, in December 2015, and for a period of time prior thereto, Defendants

LOCKE and BRANNON, as Wardens of Logan Correctional Center, was responsible for the



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creation, implementation, oversight, and supervision of all training, policies, and procedures

followed by IDOC employees at Logan Correctional Center. In December 2015, and for a period

of time prior thereto, Defendants LOCKE and BRANNON, as Wardens of Logan Correctional

Center, knew or should have known of a widespread practice by IDOC employees at Logan

Correctional Center who engaged in guard-on-inmate sexual assaults, by way of direct reporting

and internal investigations, annual PREA Compliance Reports, John Howard Association

Investigations and Reports, grievances, training, reports from counselors, meetings, and lawsuits.

       60.     In December 2015, and for a period of time prior thereto, Defendants KEANE

and FUNK, as Agency PREA Coordinators, and ZAVALA and PASLEY, as Back-Up Agency

PREA Coordinators and IDOC employees responsible for creating and providing training to

IDOC employees, were responsible for the creation, implementation, oversight, and supervision

of the statewide training, policies, and procedures followed by IDOC employees, including those

employees at Logan Correctional Center that related to PREA violations. In December 2015, and

for a period of time prior thereto, Defendants KEANE, FUNK, ZAVALA, and PASLEY knew or

should have known of a widespread practice by IDOC employees, including employees at Logan

Correctional Center, who engaged in guard-on-inmate sexual assaults, including rapes, by way of

direct reporting and investigations, annual PREA Compliance Reports, John Howard Association

Investigations and Reports, grievances, training, reports from counselors, meetings, and lawsuits.

       61.     In December 2015, and for a period of time prior thereto, Defendant CHARRON,

as PREA Compliance Manager at Logan Correctional Center, Defendant ASHLEY, as Mental

Health Administrator: PREA Compliance Manager at Logan Correctional Center, and Defendant

JOHNSON, as Back-Up to the PREA Compliance Manager at Logan Correctional Center were

responsible for the creation, implementation, oversight, and supervision of training, policies, and




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procedures followed by IDOC employees at Logan Correctional Center that related to PREA

violations. In December 2015, and for a period of time prior thereto, Defendants CHARRON,

ASHLEY, and JOHNSON knew or should have known of a widespread practice by IDOC

employees at Logan Correctional Center who engaged in guard-on-inmate sexual assaults,

including rapes, by way of direct reporting and investigations, annual PREA Compliance

Reports, John Howard Association Investigations and Reports, grievances, training, reports from

counselors, meetings, and lawsuits.

       62.     The above-described widespread practice, so well-settled as to constitute a de

facto policy of Defendants BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE,

FUNK, ZAVALA, and PASLEY was able to exist and thrive because Defendants BRANNON,

LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and PASLEY, who

had authority over the same, exhibited deliberate indifference to the problem. Defendants

BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and

PASLEY manifested deliberate indifference to these constitutional violations by failing to take

reasonable measures to remedy these violations. Among other things, Defendants BRANNON,

LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and PASLEY failed

to adequately train, supervise, control, and discipline, including terminate, IDOC employees who

engaged, or were accused of engaging in, staff on inmate assaults, thus directly encouraging

future abuses such as those affecting Plaintiff. In this way, Defendants BRANNON, LOCKE,

CHARRON, ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and PASLEY directed, knew

about, facilitated, approved, condoned, and consented to the conduct that caused the violation of

Plaintiff’s constitutional rights, and violated Plaintiffs rights by maintaining policies and

practices that were the moving force driving the foregoing constitutional violations.




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       63.     Defendants BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE,

FUNK, ZAVALA, and PASLEY failed to adequately train, supervise, control, and discipline,

including terminate, IDOC employees who they knew or should have known were assaulting

inmates, and failed to intervene to either prevent the abuse from occurring or report the

misconduct to alleviate the potential for future abuses, thus directly encouraging abuse such as

was suffered by Plaintiff. In this way, too, Defendants BRANNON, LOCKE, CHARRON,

ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and PASLEY directed, knew about,

facilitated, approved, condoned, and consented to the conduct that caused the violation of

Plaintiff’s constitutional rights, and violated Plaintiffs rights by maintaining policies and

practices that were the moving force driving the foregoing constitutional violations

       64.     As a direct and proximate result of Defendants’ misconduct, Plaintiff’s rights

were violated and she experienced injuries, including emotional distress.

                                          Count IV
                            42 U.S.C. § 1983 - Failure to Intervene
                          Against Defendants ADAMS and JACKSON

       65.      Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

       66.     As described more fully above, Defendants Logan Correctional Officers ADAMS

and JACKSON had a reasonable opportunity to prevent the violation of Plaintiff’s constitutional

rights as set forth above had they been so inclined, but failed to do so.

       67.     Defendants Logan Correctional Officers ADAMS and JACKSON knew of a

substantial risk of harm to Plaintiff’s safety, and could see or had the opportunity to see the harm

occurring to Plaintiff as she was raped, or knew that the rape was going to occur, but consciously

disregarded the risk Plaintiff was experiencing by failing to take reasonable steps to prevent the

harm from occurring, or stopping it as it occurred.




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        68.    Defendants Logan Correctional Officers ADAMS’s and JACKSON’s failure to

act was intentional, done with malice, and/or done with reckless indifference to Plaintiff’s rights.

        69.    As a direct and proximate result of Defendants’ misconduct, Plaintiff’s rights

were violated and she experienced injuries, including emotional distress.

                                    Count V
                         42 U.S.C. § 1983 – Conspiracy
Against Defendants KOHLRUS, ADAMS, JACKSON, BRANNON, LOCKE, CHARRON,
            ASHLEY, JOHNSON, KEANE, FUNK, ZAVALA, and PASLEY

        70.    Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        71.    Defendants Logan Correctional Officers KOHLRUS, ADAMS, and JACKSON

reached an agreement among themselves to deprive Plaintiff of her constitutional rights and to

protect one another from liability for depriving Plaintiff of her rights, all as described in the

various paragraphs of this Complaint.

        72.    In furtherance of the conspiracy described in Paragraph 71, each of the co-

conspirators committed overt acts and was an otherwise willful participant in joint activity.

        73.    The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others.

        74.    As a direct and proximate result of the illicit prior agreement referenced in

Paragraph 71, Plaintiff’s rights were violated and she suffered injuries, including emotional

distress.

        75.    Defendants BRANNON, LOCKE, CHARRON, ASHLEY, JOHNSON, KEANE,

FUNK, ZAVALA, PASLEY, SNYDER, and GABOR reached an agreement among themselves

to deprive Plaintiff and other prisoners facing a substantial risk of sexual assault of their

constitutional rights and to protect one another from liability for depriving Plaintiff and prisoners

like her of their rights, all as described in the various paragraphs of this Complaint.



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        76.    In furtherance of the conspiracy described in Paragraph 76, each of the co-

conspirators committed overt acts and was an otherwise willful participant in joint activity.

        77.    As a direct and proximate result of the illicit prior agreement referenced in

Paragraph 75, Plaintiff’s rights were violated and she suffered injuries, including emotional

distress.

                                        Count VI
                 42 U.S.C. § 1983 – Due Process (Fourteenth Amendment)
     Against Defendants BRANNON, CHARRON, ASHLEY, JOHNSON, and GABOR

        78.    Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        79.    As stated more fully above, following the rape and Plaintiff’s subsequent report,

Plaintiff was placed in isolation and denied Boot Camp status. The conditions that Plaintiff

experienced in isolation, including her eventual denial of Boot Camp status, were atypical and

significantly imposed such a hardship on her that the risk of having to endure those conditions

triggered a liberty interest requiring due process.

        80.    Defendants failed to provide Plaintiff with due process before depriving her of

that liberty interest. Specifically, Plaintiff had no hearing and no opportunity to dispute her

continued confinement or denial from Boot Camp.

        81.    The misconduct committed by Defendants were not random and unauthorized, but

instead were the foreseeable result of the policies and practices of Defendants BRANNON,

CHARRON, ASHLEY, and JOHNSON, as well as Defendant GABOR.

        82.    Specifically, in December 2015, and for a period of time prior thereto, Defendants

BRANNON, CHARRON, ASHLEY, and JOHNSON, were responsible for the creation,

implementation, oversight, and supervision of all policies and procedures followed by IDOC

employees at Logan Correctional Center as they related to PREA violations and staff-on-inmate




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violence, including the investigation and discipline of inmates who make such reports. In

December 2015, and for a period of time prior thereto, Defendants BRANNON, CHARRON,

ASHLEY, and JOHNSON knew or should have known of a widespread practice at Logan

Correctional Center that limited inmates’ due process rights who made reports of PREA

violations and staff-on-inmate violence by way of direct reporting, annual PREA Compliance

Reports, John Howard Association Investigations and Reports, grievances, training, reports from

counselors, internal affairs investigatory reports, meetings, and lawsuits.

       83.     The above-described widespread practice, so well-settled as to constitute a de

facto policy of Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON was able to

exist and thrive through Defendant GABOR because Defendants BRANNON, CHARRON,

ASHLEY, and JOHNSON, who had authority over the same, exhibited deliberate indifference to

the problem. Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON manifested

deliberate indifference to these constitutional violations taken by Defendant GABOR by failing

to take reasonable measures to remedy these violations. Among other things, Defendants

BRANNON, CHARRON, ASHLEY, and JOHNSON failed to adequately train, supervise,

control, and discipline, including terminate, Defendant GABOR who engaged, or was accused of

engaging in, due process violations, thus directly encouraging future abuses such as those

affecting Plaintiff. In this way, Defendants BRANNON, CHARRON, ASHLEY, and JOHNSON

directed, knew about, facilitated, approved, condoned, and consented to the conduct that caused

the violation of Plaintiff’s constitutional rights, and violated Plaintiff’s rights by maintaining

policies and practices that were the moving force driving the foregoing constitutional violations.

       84.     As a direct and proximate result of Defendants’ misconduct, Plaintiff’s rights

were violated and she experienced injuries, including emotional distress.




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                                           Count VII
                       42 U.S.C. § 1983 – Retaliation (First Amendment)
    Against Defendants BRANNON, CHARRON, ASHLEY, JOHNSON, GABOR, SNYDER,
                                          and LOCKE

        85.     Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        86.     Plaintiff made statements about her sexual assault to prisoners and prison staff.

These statements addressed a matter of public concern and were protected by the First

Amendment.

        87.     As a result of those statements Defendants BRANNON, CHARRON, ASHLEY,

and JOHNSON, as well as Defendant GABOR retaliated against Plaintiff, placing her in

segregation and punishing her. Plaintiff’s statements were the cause and/or a motivating factor in

the Defendants’ decision to take the retaliatory actions.

        88.     Defendants’ retaliation is likely to deter First Amendment activity by Plaintiff, or

a person in Plaintiff’s position, in the future.

        89.     Plaintiff suffered a further deprivation of her Constitutional rights that deterred

future First Amendment activity when she was forced by Defendants BRANNON, CHARRON,

ASHLEY, and JOHNSON, as well as Defendant GABOR to sign an agreement stating she

would not discuss the rape committed by Defendant KOHLRUS.

        90.     Despite being forced to sign an agreement to the contrary, Plaintiff’s right to

discuss Defendant KOHLRUS’ sexual assault against her is a protected activity under the First

Amendment.

        91.     Plaintiff further suffered a further deprivation of her Constitutional rights that

deterred future First Amendment activity when she was punished for allegedly discussing the

assault by Defendants SNYDER and LOCKE while incarcerated at Decatur Correctional Center.




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        92.     As a result of Defendants’ misconduct Plaintiff’s rights were violated and she

experienced injuries, including emotional distress.

                                         Count VIII
                   42 U.S.C. § 12132—Americans with Disabilities Act Claim
                                   Against Defendant IDOC

        93.     Title II of the Americans with Disabilities Act prohibits exclusion of qualified

individuals from participation in services, programs, or activities by public entities like

Defendant IDOC.

        94.     At all times relevant to her claims in this case, Plaintiff was a qualified individual

with a disability within the meaning of Title II of the ADA, 42 U.S.C. § 12131(2).

        95.     The claims under the ADA are brought against Defendant IDOC as a department

of the State of Illinois.

        96.     Defendant IDOC is a “public entity” within the meaning of 42 U.S.C. § 12131(1).

        97.     Plaintiff was excluded and/or discriminated from participating in, and was denied

the benefits of, the Impact Incarceration Program (“Boot Camp”) due to her disability.

        98.     Plaintiff’s exclusion and/or discrimination from the Impact Incarceration Program

was a direct and proximate result of her disability.

                                              Count IX
                            29 U.S.C. § 794(a)—Rehabilitation Act Claim
                                      Against Defendant IDOC

        99.     For any program or activity receiving federal financial assistance, the

Rehabilitation Act prohibits a qualified individual with a disability from being excluded from

participating in, being denied the benefits of, or being subjected to discrimination in any such

program or activity.




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          100.   Plaintiff is a qualified “individual with a disability” within the meaning of the

Rehabilitation Act, 29 U.S.C. § 794(a).

          101.   At all times relevant to Plaintiff’s claims, Defendant IDOC, as a department of the

State of Illinois, received “[f]ederal financial assistance” within the meaning of 29 U.S.C. §

794(a).

          102.   The operations of Defendant IDOC, including the Impact Incarceration Program,

are “program[s] or activit[ies]” within the meaning of 29 U.S.C. § 794(b)(1)(A)-(B) and/or

(b)(2)(B).

          103.   Plaintiff was excluded and/or discriminated from participating in, and was denied

the benefits of, the Impact Incarceration Program (“Boot Camp”) due to her mental health needs,

including requiring psychotropic medication.

          104.   Plaintiff’s exclusion and/or discrimination from the Impact Incarceration Program

was a direct and proximate result of her disability.

                                               Count X
                               Illinois State Law – Assault & Battery
                                    Against Defendant KOHLRUS

          105.   Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

          106.   Pleading in the alternative, and as described more fully above, Defendant

KOHLRUS made physical contact with Plaintiff without valid cause. That physical contact was

offensive and harmful.

          107.   As described more fully above, Defendant KOHLRUS intended to harm and/or

frighten Plaintiff without valid cause. His actions did in fact cause Plaintiff fear and

apprehension.




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        108.   As a direct and proximate result of Defendant KOHLRUS’ conduct, Plaintiff

experienced injuries, including emotional distress.

                                            Count XI
                               Illinois State Law – Sexual Abuse
                                Against Defendant KOHLRUS

        109.   Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        110.   In the manner described more fully above, Defendant KOHLRUS’ actions were

done intentionally, willfully and wantonly, or with such reckless disregard for their natural

consequences as to constitute the tort of sexual abuse under the laws and constitution of the State

of Illinois

        111.   As a direct and proximate result of Defendant KOHLRUS’ conduct, Plaintiff

experienced injuries, including emotional distress.

                                          Count XII
               Illinois State Law – Intentional Infliction of Emotional Distress
                                Against Defendant KOHLRUS

        112.   Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        113.   Pleading in the alternative, and in the manner described more fully above,

Plaintiff Defendant KOHLRUS engaged in extreme and outrageous conduct when he raped

Plaintiff in the laundry room at Logan Correctional Center.

        114.   Defendant KOHLRUS’ actions as set forth above were rooted in an abuse of

power or authority.

        115.   Defendant KOHLRUS’ actions as set forth above were undertaken intentionally

or with knowledge that there was a high probability that the conduct would inflict severe

emotional distress and with reckless disregard of that probability.




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        116.    Defendant KOHLRUS’ actions, as set forth above, were undertaken intentionally,

with malice, and/or reckless indifference to Plaintiff’s rights.

                                        Count XIII
                   Illinois State Law – Negligent Spoliation of Evidence
    Against Defendants BRANNON, CHARRON, JOHNSON, ASHLEY, KEANE, FUNK,
                             ZAVALA, PASLEY, and GABOR
        117.    Plaintiff incorporates each paragraph of this Complaint as if fully restated herein.

        118.    Defendants BRANNON, CHARRON, JOHNSON, ASHLEY, KEANE, FUNK,

ZAVALA, PASLEY, and GABOR had a duty to preserve the photographic and/or video

evidence depicting Plaintiff during the early morning on December 28, 2015.

        119.    It was clear to Defendants BRANNON, CHARRON, JOHNSON, ASHLEY,

KEANE, FUNK, ZAVALA, PASLEY, and GABOR—and to any reasonable person—that such

evidence was material to a potential legal action related to the rape Plaintiff suffered at the hands

of Defendant KOHLRUS.

        120.    Despite this, Defendants BRANNON, CHARRON, JOHNSON, ASHLEY,

KEANE, FUNK, ZAVALA, PASLEY, and GABOR failed to preserve that photographic and/or

video evidence.

        121.    This failure has negatively and materially impacted Plaintiff’s ability to prove her

claims in this litigation.



        WHEREFORE, Plaintiff, JACQUELINE FARRIS, by and through her attorneys,

LOEVY & LOEVY, respectfully requests that this Court enter judgment in her favor and against

Defendants CHRISTINE BRANNON, CLARA CHARRON, NORINE ASHLEY, LISA

JOHNSON, PATRICK KEANE, MIKE FUNK, FELIPE ZAVALA, ALAN PASLEY, ERIK

KOHLRUS, ALEX ADAMS, LAURA JACKSON, JEFF GABOR, TRINA SNYDER,



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ANGELA LOCKE, and THE ILLINOIS DEPARTMENT OF CORRECTIONS, awarding

compensatory damages, punitive damages, attorneys’ fees, and any other relief this Court deems

appropriate.



                                           JURY DEMAND

           Plaintiff, JACQUELINE FARRIS, by and through her attorneys, LOEVY & LOEVY,

hereby demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b) on all issues so

triable.



Dated: November 12, 2019                                    Respectfully Submitted,

                                                            /s/ Megan Pierce_________
                                                            One of Plaintiff’s Attorneys

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                                                            Jon Loevy
                                                            Julie Goodwin
                                                            Sarah Grady
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